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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                       :
                                                :         Case No.: 21-mj-00011 (GMH)
                 v.                             :
                                                :
LONNIE LEROY COFFMAN,                           :
                                                :
        Defendant.                              :

                 MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of pretrial detention.

        A. BACKGROUND

        On the morning of January 6, 2021, defendant Lonnie Leroy Coffman parked his Red GMC

Sierra pickup truck in the 300 block of First Street, Southeast, Washington, D.C, at around 9:15

a.m.   (Exhibit A at 3.) The pickup truck was registered to the defendant in Alabama. It was

parked a few blocks away from the U.S. Capitol Building, where a throng would soon gather and

illegally force its way inside to disrupt constitutionally-required proceedings critical to our nation’s

democratic process. The defendant got out of his pickup truck at around 9:20 a.m., and walked

directly towards the U.S. Capitol Building with a crowd of people (surveillance images attached

as Exhibit B).

        The pickup truck was parked near the Republican National Club, and a few blocks from

the Democratic National Committee Headquarters.         Law enforcement responded to the locations

of both of those political organizations a few hours later for reports of explosive devices there.

(Exhibit A at 1.)

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         While responding to the reports of explosive devices in the area, United States Capitol

Police (“USCP”) officers saw the handle of a firearm on the front right passenger seat of the

defendant’s truck.    Law enforcement recovered a loaded 9mm Hi-Point handgun from the front

right passenger seat, and proceeded to conduct a search of the rest of the defendant’s pickup truck.

The search revealed that the defendant had a large and unlawful collection of weapons in the

pickup truck.    Items recovered included: (a) the loaded 9 mm Hi-Point handgun; (b) a loaded

Windham Weaponry rifle; (c) a loaded Hatfield Gun Company SAS shotgun; (d) several large-

capacity ammunition feeding devices loading with more than ten rounds of rifle ammunition; (e)

hundreds of rounds of ammunition; (f) a crossbow with bolts; (g) several machetes; (h) camouflage

smoke devices; (i) stun gun; (j) 11 mason jars containing a flammable liquid, with a hole punched

in the top of each jar; (k) lighters and rags; and (l) other items.   (Photos attached as Exhibit C.)

         The defendant returned to the pickup truck at around 6:30 p.m. that evening, and affirmed

to law enforcement that it was his pickup truck (Exhibit A at 2).             The defendant told law

enforcement that he had been trying to get back to the pickup truck throughout the day, but that he

was turned away in light of the explosives investigations. The defendant told law enforcement

that the mason jars inside the pickup contained a mixture of melted Styrofoam and gasoline.        (Id.

at 3.)   This combination creates an explosive mixture that has the effect of napalm, in that the

flammable mixture can stick to objects and continue burning.           (Id.) The Bureau of Alcohol,

Tobacco, and Firearms concluded that the eleven mason jars and related items were parts designed

to create a Molotov cocktails, a dangerous incendiary explosive.       (Id. at 2.)

         The defendant was also carrying two additional loaded firearms – a 9mm Smith & Wesson

handgun, and a .22 caliber North American Arms revolver.         (Photos attached as Exhibit D.)   The


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defendant’s wallet contained cards advertising firearm and pawn shops, and a document purporting

to be a license to carry a pistol in his home State of Alabama.       The defendant had no legal

authority to possess or carry any firearms or destructive devices in the District of Columbia.   The

defendant was placed under arrest.

       The search of the defendant’s pickup truck contained concerning handwritten messages

that raise alarm in the context of the January 6 rioting and criminal infringement on our nation’s

democratic process.    One was a handwritten note with words purportedly attributed to Abraham

Lincoln – “We The People Are The Rightful Masters Of Both The Congress And The Courts, Not

To Overthrow The Constitution But To Overthrow The Men Who Pervert The Constitution”

(emphasis added).     The note also contained information about elected representatives (describing

one as purportedly Muslim) and describing a judge as a “bad guy.”       Another set of handwritten

messages were found on the back of a magazine, and contained purported contact information for

“Conservative Talk Show Host Mark Levin,” “Shaun [sic] Hannity,” and “Senator Ted Cruz.”

(Photos attached as Exhibit E.)

       The defendant told law enforcement that he resided in Alabama, and had been living out

of his truck in the D.C. area for around the past week.

       On January 11, 2021, the grand jury returned a 17-count indictment charging the defendant

with Possession of an Unregistered Firearm – Destructive Device (26 U.S.C. Section 5861(d)),

three counts of Carrying a Pistol Without a License (22 D.C. Code Section 4504(a)), two counts

of Carrying a Rifle or Shotgun (22 D.C. Code Section 4504(a-1)), Possession of a Large Capacity

Feeding Device (7 D.C. Code Section 2506.01(b)), five counts of Possession of an Unregistered

Firearm (7 D.C. Code Section 2502.01(a)), and five counts of Unlawful Possession of Ammunition


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(7 D.C. Code Section 2506.01(a)(3)).

        B. ARGUMENTS FOR DETENTION

        Pretrial detention is necessary to ensure the safety of people and the community, and the

appearance of the defendant as required.           18 U.S.C. Section 3142(f).   There is clear and

convincing evidence that the defendant would pose a danger to the community if released, and that

there are no release conditions or combination of conditions that would ensure the safety of the

community.     There is probable cause that the defendant would be a flight risk and would not

appear at trial as required.

        The nature and circumstances of the offense include that the defendant is charged with

numerous felony offenses, including a federal felony that involves the possession of a firearm or

destructive device (18 U.S.C. Section 3142(f)(1)(E)).        The defendant possessed in his pickup

truck a large collection of weapons in Washington, D.C., without authority, gravely endangering

the community on a day of criminal rioting at the U.S. Capitol Building. The Molotov cocktail

components were created so as to be particularly lethal, with a napalm substance inside that would

stick to the target and continue to burn.   The defendant had hundreds of rounds of ammunition,

each of which could cost a human life.      The pickup truck was parked in close proximity to the

U.S. Capitol Building. And the handwritten messages in the defendant’s pickup truck raise grave

concerns about his intentions, and suggest that these weapons were intended to be used in an effort

to violently attack our elected representatives.

        The weight of the evidence is overwhelming, as the defendant admitted to law enforcement

that the pickup truck was his, and had intimate knowledge of the contents.      Two of the firearms

were on the defendant’s person in his pockets. The defendant’s pickup truck was registered to


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him in Alabama, and he carried the keys to the truck.           No other individual (aside from law

enforcement) accessed the pickup truck from the time the defendant parked it the morning of

January 6.

          The defendant has a concerning history and characteristics that raise grave risk that he

would endanger the community and flee if released.               The defendant does not reside in

Washington, D.C., and we are unaware of any family in the area.       He reported to law enforcement

that he was living out of his truck in the days preceding the January 6 rioting.     The defendant is

not employed.      And it is clear that he has access to firearms and other weapons, and carried in his

wallet a license to carry a pistol in the State of Alabama.

          In the end, this is a defendant with access to firearms and numerous other lethal weapons,

dangerous incendiary mixtures creating napalm, who appears to have been motivated to conduct

violence against our elected representatives.        The defendant brought these weapons to the

immediate vicinity of the U.S. Capitol Building, and traveled the area with two firearms on his

person.     The amount of weapons suggests an intent to provide them to others, as no one person

could reasonably use so many at once.           The nature and seriousness of the danger that the

defendant would pose if released cannot be overstated.        There are no conditions or combinations

of conditions that would ensure the safety of the community and the defendant’s appearance as

required.

          C. CONCLUSION

          For these reasons, and others presented at the detention hearing, the Court should order that

the defendant be detained pending trial.




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                           Respectfully submitted,

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